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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                             Case No.: 20-CV-24044-MIDDLEBROOKS


   EDUARDO SOTO, as personal
   Representative of the estate of OSVALDO
   SOTO,
   Plaintiff,
   vs.
   EXPEDIA GROUP, INC.,
   Defendants,
   ______________________________________/


                               MOTION FOR EXTENSION OF TIME

   Plaintiff, OSVALDO SOTO, by and through EDUARDO SOTO, as Personal Representative,
   files this Motion for Extension of Time, and as grounds thereof states as follows:

   1. On May 2, 2024, Andres Rivero, Esq., Alan H. Rolnick, Esq., of Manuel Vazquez P.A.
   (Plaintiff’s Counsel), filed a Motion to withdraw as a Plaintiff’s Counsel.

   2. On May 16, 2024, Honorable Judge Donald M. Middlebrooks, granted in Part Motion to
   Withdraw (DE 147). However, Honorable Judge denied a thirty-day extension of pending
   deadlines.

   3. Plaintiff request four (4) months extension in order to allow him sufficient time to retain a
   successor counsel.

   4. In addition, Plaintiff request additional time in order to file supporting evidence for discovery.

   5. A reasonable extension in Plaintiff’s case to allow him and successor counsel to sufficiently
   prepare the case would be in the best interest of all parties.

   6. The Motion is made in good faith and is not for dilatory purposes of for purposes of

   delay.

   WHEREFORE, Plaintiff, respectfully requests this Court enter an Order Granting him Motion
   for Extension of Time and for such other relief as the Court deems necessary and appropriate.
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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
   via U.S. Mail and/or E-Service compliant with Local Rule 5.1 of the United States District Court
   for the Southern District of Florida this 7th day of June 2024 to all counsel of record.




               Respectfully Submitted,

               /s/ Eduardo R. Soto, Esq.
               Eduardo R Soto, Esq.
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